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RAÚL R. LABRADOR
ATTORNEY GENERAL

LINCOLN DAVIS WILSON, ISB #11860
Chief of Civil and Constitutional Defense

BRIAN V. CHURCH, ISB #9391
TIMOTHY J. LONGFIELD, ISB #12201
Deputy Attorneys General
Office of the Attorney General
P. O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
lincoln.wilson@ag.idaho.gov
brian.church@ag.idaho.gov
timothy.longfield@ag.idaho.gov
Attorneys for Defendant Raúl Labrador
and Certain County Prosecuting Attorneys


                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-              Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, et al.,
                Plaintiffs,                      DECLARATION OF LINCOLN
                                                 DAVIS WILSON
v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; et al.,
                Defendants.




                                        DECLARATION OF LINCOLN DAVIS WILSON – 1
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      I, LINCOLN DAVIS WILSON, declare and state as follows:

      1.    I am a Deputy Attorney General and Chief of Civil Litigation and Con-

stitutional Defense for the Idaho Attorney General.

      2.    Attached hereto as Exhibit A is a true and correct copy of email corre-

spondence between myself and counsel for Plaintiffs.

      3.    Attached hereto as Exhibit B is a declaration by Bailey Smith, Prosecu-

tor for Teton Valley County.

      4.    Attached hereto as Exhibit C is a declaration by Adam J. McKenzie,

Prosecutor for Bear Lake County.

      5.    Attached hereto as Exhibit D is a declaration by Vic A. Pearson, Prose-

cutor for Franklin County.

      6.    Attached hereto as Exhibit E is a declaration by Bryan Taylor, Prosecu-

tor for Canyon County.

      7.    Attached hereto as Exhibit F is a declaration by Justin Coleman, Pros-

ecutor for Nez Perce County.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on May 5, 2023.

                                       By:    /s/ Lincoln Davis Wilson
                                                LINCOLN DAVIS WILSON




                                         DECLARATION OF LINCOLN DAVIS WILSON – 2
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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to all counsel of record who have appeared in this matter.


                                            /s/ Lincoln Davis Wilson
                                            LINCOLN DAVIS WILSON
                                            Chief, Civil Litigation and Constitu-
                                            tional Defense




  DEFENDANTS’ SECOND NOTICE OF SUPPLEMENTAL DECLARATIONS RE-
                      GARDING SUBJECT MATTER JURISDICTION – 3
